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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                           March 01, 2022
                      IN THE UNITED STATES DISTRICT COURT                Nathan Ochsner, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 SHAIKH ENTERPRISES, INC.                 §
 d/b/a Z S FOOD MART (a/k/a               §
 NAGHMA B. SHAIKH & BASHIR                §
 SHAIKH),                                 §
                                          §
         Plaintiff,                       §
                                          §
 v.                                       §       Civil Action No. H-20-3411
                                          §
 UNITED STATES OF AMERICA,                §
                                          §
         Defendant.                       §
                                      ORDER
       Pending before the Court is Defendant’s Motion for Summary Judgment

(Document No. 14). Having considered the motion, submissions, and applicable law,

the Court determines the motion should be granted.

                               I. BACKGROUND

       This case involves the appeal of a decision made by the Food and Nutrition

Service (the “FNS”) to permanently disqualify Plaintiff Shaikh Enterprises, Inc.

d/b/a ZS Food Mart (“ZS Food Mart”) from participating in the Supplemental

Nutrition Assistance Program (“SNAP”). On January 31, 2019, ZS Food Mart was

authorized to participate in SNAP and was classified as a convenience store. On

September 28, 2019, a contractor for the FNS, a department within the United States

Department of Agriculture which is a department within Defendant United States of
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America (the “Government”), conducted an inspection of ZS Food Mart’s layout

and inventory, and an investigation into ZS Food Mart’s SNAP transactions ensued.

On June 12, 2020, the FNS sent ZS Food Mart a charge letter stating it violated

SNAP regulations based on Electronic Benefits Transfer (“EBT”) transactions

showing patterns of unusual SNAP activity between November 2109 and April 2020

indicative of SNAP benefits trafficking. On June 22, 2020, ZS Food Mart replied

seeking a civil money penalty (“CMP”) in lieu of permanent disqualification. On

July 6, 2020, the FNS found the violations stated in the June 12 charge letter occurred

and imposed a permanent disqualification from SNAP. The FNS also found ZS Food

Mart was ineligible for a CMP because it failed to submit sufficient evidence

demonstrating it established and implemented an effective compliance policy to

prevent SNAP violations. On July 17, 2020, ZS Food Mart requested administrative

review of the FNS’s decision to permanently disqualify ZS Food Mart from

participating in SNAP. On July 27, 2020, that request was granted and ZS Food Mart

was notified it could submit additional evidence for consideration. On August 17,

2020, ZS Food Mart submitted additional evidence and again sought a CMP instead

of permanent disqualification. On September 2, 2020, the FNS issued the Final

Agency Decision (the “Decision”), upholding the permanent disqualification.

      Based on the foregoing, on October 2, 2020, ZS Food Mart filed this suit

seeking: (1) an administrative stay of ZS Food Mart’s permanent disqualification;

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and (2) judicial review of the Decision under 7 U.S.C. § 2023. On November 30,

2021, the Government moved for summary judgment.

                           II. STANDARD OF REVIEW

      Summary judgment is proper when “there is no genuine dispute as to any

material fact and the movant is entitled to a judgment as a matter of law.” Fed. R.

Civ. P. 56(a). The Court must view the evidence in a light most favorable to the

nonmovant. Coleman v. Hous. Indep. Sch. Dist., 113 F.3d 528, 533 (5th Cir. 1997).

Initially, the movant bears the burden of presenting the basis for the motion and the

elements of the causes of action upon which the nonmovant will be unable to

establish a genuine dispute of material fact. Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986). The burden then shifts to the nonmovant to come forward with specific

facts showing there is a genuine dispute for trial. See Fed. R. Civ. P. 56(c);

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586–87 (1986). “A

dispute about a material fact is ‘genuine’ if the evidence is such that a reasonable

jury could return a verdict for the nonmoving party.” Bodenheimer v. PPG Indus.,

Inc., 5 F.3d 955, 956 (5th Cir. 1993) (citation omitted).

      But the nonmoving party’s bare allegations, standing alone, are insufficient to

create a material dispute of fact and defeat a motion for summary. If a reasonable

jury could not return a verdict for the nonmoving party, then summary judgment is

appropriate. Liberty Lobby, Inc., 477 U.S. at 248. The nonmovant’s burden cannot

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be satisfied by “conclusory allegations, unsubstantiated assertions, or ‘only a

scintilla of evidence.’ ” Turner v. Baylor Richardson Med. Ctr., 476 F.3d 337, 343

(5th Cir. 2007) (quoting Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir.

1994)). Furthermore, it is not the function of the Court to search the record on the

nonmovant’s behalf for evidence which may raise a fact issue. Topalian v. Ehrman,

954 F.2d 1125, 1137 n.30 (5th Cir. 1992). Therefore, “[a]lthough we consider the

evidence and all reasonable inferences to be drawn therefrom in the light most

favorable to the nonmovant, the nonmoving party may not rest on the mere

allegations or denials of its pleadings, but must respond by setting forth specific facts

indicating a genuine issue for trial.” Goodson v. City of Corpus Christi, 202 F.3d

730, 735 (5th Cir. 2000).

                               III. LAW & ANALYSIS

      The Government contends it is entitled to summary judgment because: (1) the

Decision’s finding ZS Food Mart trafficked SNAP benefits was proper; and (2) the

ZS Food Mart’s permanent disqualification was not arbitrary and capricious. ZS

Food Mart contends there are material issues of fact as to whether ZS Food Mart

trafficked SNAP benefits, preventing summary judgment.

       Following the final decision by the FNS, a food retailer may seek judicial

review under 7 U.S.C. § 2023(a)(13). The district court’s review is a trial de novo,

where the Court “shall determine the validity of the questioned administrative action

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in issue.” 7 U.S.C. § 2023(a)(15); Jerusalem Halal Meats, Inc. v. United States, 821

F. App’x 299, 301 (5th Cir. 2020) (per curiam). On de novo review under § 2023, a

plaintiff “may offer any relevant evidence available to support [its] case, whether or

not it has been previously submitted to the agency, and the agency itself may offer

any evidence available to support it action, whether or not in the administrative

record.” Redmond v. United States, 507 F.2d 1007, 1011–12 (5th Cir. 1975). “The

agency decisions stands unless [the plaintiff] proves the invalidity of the

administrative action by a preponderance of the evidence.” Jerusalem Halal Meats,

821 F. App’x at 301 (citing Redmond, 507 F.2d at 1011–12).

      While a court evaluates validity of the violation determination under a de novo

review, it can only set aside a final penalty decision if the decision is arbitrary and

capricious. See Jerusalem Halal Meats, Inc. v. United States, Civil Action H-17-

1423, 2019 WL 1026302, at *4 (S.D. Tex. Feb. 7, 2019) (Bray, M.J.), adopted by

2019 WL 1026302 (S.D. Tex. March 4, 2019) (Hughes, J.), affirmed by 821 F. App’x

299, 301 (5th Cir. 2020) (per curiam). A sanction is arbitrary and capricious “if it is

unwarranted in law or without justification in fact.” Goodman v. United States, 518

F.2d 505, 509 (5th Cir. 1975).

A.    SNAP Benefit Trafficking

      The Government contends the Decision’s finding ZS Food Mart trafficked

SNAP benefits was proper because the FNS’s investigation of ZS Food Mart showed

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clear discrepancies with its SNAP EBT transactions indicative of SNAP benefit

trafficking. ZS Food Mart contends the investigation was flawed and therefore the

finding of trafficking was improper.

      According to the FNS’s investigation of ZS Food Mart, the FNS’s found a

pattern of SNAP transactions indicating a high likelihood of SNAP benefit

trafficking. Here, “trafficking” is defined as “[t]he buying, selling, stealing, or

otherwise effecting an exchange of SNAP benefits . . . for cash or consideration other

than eligible food . . . . ” 4 C.F.R. § 271.2. The FNS analyzed SNAP EBT transaction

data for the period between November 2019 and April 2020.1 The FNS compared

ZS Food Mart’s “food stock, counter size space, the cash register set up, eligible

food items sold[,] and the store layout” to the SNAP EBT transactions within that

timeframe. 2 For instance, the investigation report notes twenty-one suspicious sets

of transactions completed by seventeen different households which were indicative

of trafficking. 3 These transactions were suspicious because they showed multiple

transactions occurring within a short amount of time by the same household. 4 The



      1
        Defendant United States of America’s Motion for Summary Judgment, Document
No. 14-9 at 255 (Administrative Record) [hereinafter Administrative Record].
      2
          Administrative Record, supra note 1, at 262.
      3
          Administrative Record, supra note 1, at 262.
      4
          Administrative Record, supra note 1, at 262.

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SNAP transaction data also shows a significant number of high dollar transactions

not supported by the store’s food stock, which is limited in both variety and amount.5

The investigation further showed ZS Food Mart had “higher transaction amounts in

almost all transactions ranging from $30 to $89.99” when compared to other

convenience stores in Harris County, Texas during the review period, which is an

indication of SNAP benefits trafficking.6 Ultimately, the investigation found “during

the period [November 2019 to April 2020], [the FNS] established clear and repetitive

patterns of unusual, irregular, and inexplicable SNAP activity, which would warrant

the issuance of a trafficking charge letter.”7 On June 12, 2020, the FNS sent a letter

to ZS Food Mart charging it with violating § 278.6(e)(1) of SNAP regulations, and

the sanction for its trafficking would be permanent disqualification from

participation in SNAP. 8

      On June 22, 2020, ZS Food Mart, through counsel, responded to the FNS’s

June 12, 2020 letter. Critically, ZS Food Mart did not deny the trafficking allegations

or otherwise provide evidence the allegations were false. Rather, ZS Food Mart

requested a CMP in lieu of permanent disqualification from participating in the


      5
          Administrative Record, supra note 1, at 263.
      6
          Administrative Record, supra note 1, at 266.
      7
          Administrative Record, supra note 1, at 272.
      8
          Administrative Record, supra note 1, at 273.

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SNAP program.9 Further, in its response to the Government’s motion for summary

judgment, ZS Food Mart does not provide any new evidence which shows the

trafficking allegations are false. Instead, it makes the conclusory assertion a genuine

issue of material fact exists. Such conclusory statements are not competent summary

judgment evidence. Turner, 476 F.3d at 343. Therefore, based on the investigation

conducted by the FNS, the Court finds the FNS’s finding ZS Food Mart trafficked

in SNAP benefits was proper. The Court now turns to whether the Decision ordering

permanent disqualification, rather than a CMP, was arbitrary and capricious.

B.    Arbitrary and Capricious

      The Government contends ZS Food Mart’s permanent disqualification was

not arbitrary and capricious because ZS Food Mart failed to produce documentary

evidence of its compliance policy and prevention program. ZS Food Mart contends

it did produce the evidence necessary to show its trafficking prevention efforts and

thus the Decision to permanently disqualify ZS Food Mart was arbitrary and

capricious.

      A sanction is arbitrary and capricious “if it is unwarranted in law or without

justification in fact.” Goodman, 518 F.2d at 509. The FNS may disqualify a retail

food store and/or assess a CMP as a sanction for trafficking in SNAP benefits. 7



      9
          Administrative Record, supra note 1, at 283–85.

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U.S.C. § 2021(a)(1); 7 C.F.R. § 278.6(a). A disqualified retail food store may apply

for a CMP in lieu of disqualification within ten days of receipt of the charge letter

informing the retail food store of its violation and disqualification. 7 C.F.R. §

278.6(b). Within ten days of the charge letter, the disqualified retail food store must

submit “substantial evidence with demonstrates that the [retail food store] has

established and implemented an effective compliance policy and program to prevent

violations of the Program.” Id. § 278.6(i). Such evidence includes “written and dated

statements of firm policy which reflect a commitment to ensure that the firm is

operated in a manner consistent with [current regulations].” Id. § 278.6(i)(1). The

FNS may also consider documentation reflecting the development and operation of

policies and procedures designed to prevent and correct any violations of these

regulations. Id. at § 278.6(i)(1)(i)–(iii).

       In its response to the FNS’s June 12, 2020 letter charging ZS Food Mart with

trafficking SNAP benefits, ZS Food Mart does not dispute or otherwise rebut the

trafficking allegations. 10 Instead, ZS Food Mart requested a CMP based on the fact

new employees were required to be trained on proper SNAP benefit usage and the

store’s obligations under the SNAP program before beginning their first shifts.11 In




       10
            Administrative Record, supra note 1, at 283–85.
       11
            Administrative Record, supra note 1, at 284.

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support of this, on July 17, 2020, ZS Food Mart supplied an affidavit from one of its

owners, Bashir A. Shaikh, which avers “[a]ll facts contained within the foregoing

document are within my personal knowledge and are true and correct.” 12 On August

17, 2020, ZS Food Mart submitted additional information in support of its request

for a CMP, including pictures of SNAP transaction receipts pulled from its cash

register.13 The FNS found these documents to be insufficient to support a request for

a CMP under SNAP regulations.

      Based on the lack of supporting documenting, the Government contends the

decision to disqualify ZS Food Mart was not arbitrary and capricious and ZS Food

Mart failed to meet its burden of showing otherwise. In its response to the motion

for summary judgment, ZS Food Mart’s does not respond to the Government’s

argument the disqualification was not arbitrary capricious or otherwise provide new

evidence supporting its claims it had a prevention policy in place at the time of the

violations. Rather, ZS Food Mart rests on its documents submitted during the

administrative review process and focused its argument on disputing whether the

trafficking finding was proper. Because ZS Food Mart failed to produce evidence of

a prevention and compliance program as required under SANP regulations, the Court




      12
           Administrative Record, supra note 1, at 286.
      13
           Administrative Record, supra note 1, at 308–14.

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finds ZS Food Mart failed to meet its burden to show its permanent disqualification

from SNAP participation was arbitrary and capricious. Therefore, the Court finds

summary judgment is proper. Accordingly, the Government’s motion for summary

judgment is granted.

                               IV. CONCLUSION

      Based on the foregoing, the Court hereby

      ORDERS that Defendant United States of America’s Motion for Summary

Judgment (Document No. 14) is GRANTED.

      THIS IS A FINAL JUDGMENT.

       Signed on March 1, 2022, at Houston, Texas.


                                             ____________________________
                                             David Hittner
                                             United States District Judge




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